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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF NEW YORK

 

UNITED STATES OF AMERICA,

v. 21-CR-6038 CJS
CHRISTOPHER TINDAL,

Defendant.

 

PLEA AGREEMENT
The defendant, CHRISTOPHER TINDAL, and the United States Attorney for the
Western District of New York (hereinafter "the government") hereby enter into a plea

agreement with the terms and conditions as set out below.

I. THE PLEA AND POSSIBLE SENTENCE

1. The defendant agrees to waive indictment and plead guilty to a one-count
Information which charges a violation of Title 18, United States Code, Section 2101(a) (Riot),
for which the maximum possible sentence is a term of imprisonment of 5 years, a fine of
$250,000, a mandatory $100 special assessment, and a term of supervised release of 3 years.
The defendant understands that the penalties set forth in this paragraph are the maximum
penalties that can be imposed by the Court at sentencing.

2. The defendant understands that, if it is determined that he has violated any of
the terms and conditions of his term of supervised release, he may be required to serve in
prison all or part of the term of supervised release, up to 2 years, without credit for time
previously served on supervised release. As a consequence, in the event the defendant is

sentenced to the maximum term of incarceration, a prison term imposed for a violation of
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supervised release may result in the defendant serving a sentence of imprisonment longer than

the statutory maximum set forth in 4 1 of this agreement.

Il. ELEMENTS AND FACTUAL BASIS

3. The defendant understands the nature of the offense set forth in { 1 of this
agreement and understands that if this case proceeded to trial, the government would be
required to prove beyond a reasonable doubt the following elements of the crime:

First, that the defendant used any facility of interstate or foreign commerce with the
intent to commit any act of violence in furtherance of a riot, or to organize, participate in, or
carry on a riot.

Second, that the defendant, during the course of such use, or thereafter, performed, or
attempted to perform, any other overt act for the purpose of committing any act of violence
in furtherance of a riot, or organizing, participating in, or carrying on a riot.

A “riot” means a public disturbance involving an act or acts of violence by one or more
persons part of an assemblage of three or more persons, which act or acts shall constitute a
clear and present danger of, or shall result in, damage or injury to the property of any other
person.

FACTUAL BASIS

4, The defendant and the government agree to the following facts which form the
basis for the defendant’s guilty plea including relevant conduct:

a. On or about May 30, 2020, in the City of Rochester, in the Western
District of New York, the defendant, CHRISTOPHER TINDAL,
participated with numerous other individuals (exceeding three persons)
in a public protest near the Public Safety Building located at 185
Exchange Street, Rochester, New York. At various times during the

public protest, the gathering turned violent, resulting in significant
property damage and looting.
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b. During the course of the riot, the defendant and others used an aerosol
can and an open flame to set fire to a marked Rochester Police
Department patrol vehicle with license plate number 463, Vehicle
Identification Number (VIN) 2G1WD5E38C1317282 (hereinafter
referred to as “RPD CAR 463”) parked in front of the Public Safety
Building. RPD CAR 463 was the property of the Rochester Police
Department and the City of Rochester. Both government organizations
conduct business in interstate commerce, for instance by purchasing
vehicles and other equipment and supplies from outside the state of New
York. The activities of the Rochester Police Department and the City of
Rochester government in enacting and enforcing laws of the State of
New York also affect interstate commerce.

c. The burning of RPD CAR 463 was broadcast and recorded on Facebook
Live, which streamed the burning of RPD CAR 463 online in real time.
RPD CAR 463 was completely destroyed by the fire. The defendant
does not contest that the fire was an incendiary, intentionally set fire, set
by his own hands with the assistance of others.

d. After RPD CAR 463 was destroyed by fire, the defendant and others
left the area around the Public Safety Building and participated in
looting stores and pharmacies throughout the City of Rochester. The
defendant utilized a cellular telephone to obtain transportation to other
areas of the city and to coordinate with others involved in the rioting.

e. The defendant further admits and agrees that he utilized Facebook Live
and his cellular telephone, both facilities of interstate or foreign
commerce, to communicate with or broadcast to any person or group of
persons with the intent to commit any act of violence in furtherance of
a riot, and to organize, participate in, and carry on a riot.

Il. SENTENCING GUIDELINES
5. The defendant understands that the Court must consider but is not bound by
the Sentencing Guidelines (Sentencing Reform Act of 1984).
BASE OFFENSE LEVEL
6. The government and the defendant agree that Guidelines § 2K1.4(a)(2)(A)

applies to the offense of conviction and provides for a base offense level of 20.
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ACCEPTANCE OF RESPONSIBILITY

7. At sentencing, the government agrees not to oppose the recommendation that
the Court apply the two (2) level downward adjustment of Guidelines § 3E1.1(a) (acceptance
of responsibility), and further agrees to move the Court to apply the additional one (1) level
downward adjustment of Guidelines § 3E1.1(b), which would result in a total offense level of
17.

CRIMINAL HISTORY CATEGORY

8. It is the understanding of the government and the defendant that the
defendant's criminal history category is V. The defendant understands that if the defendant is
sentenced for, or convicted of, any other charges prior to sentencing in this action the
defendant's criminal history category may increase. The defendant understands that the
defendant has no right to withdraw the plea of guilty based on the Court’s determination of

the defendant’s criminal history category.

GUIDELINES' APPLICATION, CALCULATIONS AND IMPACT

 

9. It is the understanding of the government and the defendant that with a total
offense level of 17 and criminal history category of V, the defendant's sentencing range would
be a term of imprisonment of 46 to 57 months, a fine of $10,000 to $95,000, and a period of
supervised release of 1 to 3 years. Notwithstanding this, the defendant understands that at
sentencing the defendant is subject to the maximum penalties set forth in { 1 of this agreement.

10. The government and the defendant agree to the Sentencing Guidelines
calculations set forth in this agreement and neither party will advocate or recommend the
application of any other Guideline, or move for any Guidelines departure, or move for or

recommend a sentence outside the Guidelines, except as specifically set forth in this

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agreement. A breach of this paragraph by one party will relieve the other party of any
agreements made in this plea agreement with respect to sentencing motions and
recommendations. A breach of this paragraph by the defendant shall also relieve the
government from any agreements to dismiss or not pursue additional charges.

11. The defendant understands that the Court is not bound to accept any
Sentencing Guidelines calculations and the defendant will not be entitled to withdraw the

plea of guilty based on the sentence imposed by the Court.

IV. STATUTE OF LIMITATIONS

12. Inthe event the defendant’s plea of guilty is withdrawn, or conviction vacated,
either pre- or post-sentence, by way of appeal, motion, post-conviction proceeding, collateral
attack or otherwise, the defendant agrees that any charges dismissed pursuant to this
agreement shall be automatically reinstated upon motion of the government and further
agrees not to assert the statute of limitations as a defense to any federal criminal offense which
is not time barred as of the date of this agreement. This waiver shall be effective for a period
of six months following the date upon which the withdrawal of the guilty plea or the vacating
of the conviction becomes final.

V. REMOVAL

13. The defendant represents that he is a citizen of the United States. However, if
the defendant is not a citizen of the United States, the defendant understands that, if
convicted, the defendant may be removed from the United States, denied citizenship, and

denied admission to the United States in the future,
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14.

15.

VI. GOVERNMENT RIGHTS AND RESERVATIONS

 

The defendant understands that the government has reserved the right to:

provide to the Probation Office and the Court all the information and
evidence in its possession that the government deems relevant
concerning the defendant's background, character and involvement in
the offense charged, the circumstances surrounding the charge and the
defendant's criminal history;

respond at sentencing to any statements made by the defendant or on
the defendant's behalf that are inconsistent with the information and
evidence available to the government;

advocate for a specific sentence consistent with the terms of this
agreement including the amount of restitution and/or a fine and the
method of payment; and

modify its position with respect to any sentencing recommendation or
sentencing factor under the Guidelines including criminal history
category, in the event that subsequent to this agreement the government
receives previously unknown information, including conduct and
statements by the defendant subsequent to this agreement, regarding the
recommendation or factor.

At sentencing, the government will move to dismiss the complaint currently

pending against the defendant under Magistrate No. 20-MJ-0692.

16.
restitution to be paid to the victim(s) of the offense as part of the sentence pursuant to
Sentencing Guidelines § 5EI.1 and Title 18, United States Code, Section 3663A. The
restitution amount will be determined by the Court at the time of sentencing. The defendant

understands that defendant will not be entitled to withdraw the plea of guilty based upon any

VI. RESTITUTION AND FINANCIAL PENALTY PROVISIONS

The defendant understands, and the parties agree, that the Court must require

restitution amount ordered by the Court.
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17. The defendant agrees to disclose fully and completely all assets in which the
defendant either has any property interest or over which the defendant exercises control,
directly or indirectly, including those held by a spouse, nominee or other third party. The
defendant agrees to make complete financial disclosure to the United States by truthfully
executing a sworn financial statement by the deadline set by the United States, or if no
deadline is set, no later than two weeks prior to the date of sentencing. The defendant agrees
to authorize the release of all financial information requested by the United States, including,
but not limited to, executing authorization forms for the United States to obtain tax
information, bank account records, credit history, and social security information. The
defendant agrees to discuss or answer any questions by the United States relating to the
defendant’s complete financial disclosure. The defendant will submit to an examination
under oath and/or a polygraph examination conducted by an examiner selected by the U.S.
Attorney’s Office on the issue of the defendant’s financial disclosures and assets, if deemed.
necessary by the U.S. Attorney’s Office. The defendant certifies that the defendant has made
no transfer of assets in contemplation of this prosecution for the purpose of evading or
defeating financial obligations that are created by the agreement and/or that may be imposed
upon the defendant by the Court. In addition, the defendant promises that the defendant will
make no such transfers in the future.

18. The defendant agrees that any financial records and information provided by
the defendant to the Probation Office, before or after sentencing, may be disclosed to the
United States Attorney’s Office for use in the collection of any unpaid financial obligation.

19. The defendant understands and agrees that the Court, at the time of sentencing,

will order that all monetary penalties imposed at that time (including any fine, restitution, or
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special assessment imposed in accordance with the terms and conditions of this plea
agreement) are to be due and payable in full immediately and will be (i) subject to immediate
enforcement as provide for in Title 18, United States Code, Section 3613, and (ii) submitted
to the Treasury Offset Program (“TOP”) so that any federal payment or transfer of returned
property the defendant receives may be offset and applied to federal debts but will not affect
any periodic payment schedule set by the Court.

20. The defendant understands and acknowledges that any schedule of payments
imposed by the Court at the time of sentencing is merely a minimum schedule of payments
and does not, in any way, limit those methods available to the United States to enforce the
judgment.

21. The defendant agrees that any funds and assets in which the defendant has an
interest, which have been seized or restrained by the government or law enforcement as part
of the investigation underlying this plea agreement, and not subject to forfeiture, will be used
to offset any judgment of restitution and fine imposed pursuant to this plea agreement, or to
satisfy any debts owed by the defendant to the United States and/or agencies thereof.

22. To the extent that the defendant has an interest, the defendant authorizes the
District Court Clerk to release any funds posted as security for the defendant’s appearance
bond in this case, which funds shall be applied to satisfy the financial obligation(s) of the
defendant pursuant to the judgment of the Court.

23. The defendant is aware that voluntary payment of restitution prior to
adjudication of guilt is a factor in considering whether the defendant has accepted

responsibility under the United States Sentencing Guidelines § 3EI.1.
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Vint. APPEAL RIGHTS
24. The defendant understands that Title 18, United States Code, Section 3742

affords a defendant a limited right to appeal the sentence imposed. The defendant, however,
knowingly waives the right to appeal and collaterally attack any component of a sentence
imposed by the Court which falls within or is less than the sentencing range for imprisonment,
a fine and supervised release set forth in Section IJ, § 9 above, notwithstanding the manner
in which the Court determines the sentence. In the event of an appeal of the defendant's
sentence by the government, the defendant reserves the right to argue the correctness of the
defendant’s sentence.

25. The defendant understands that by agreeing to not collaterally attack the
sentence, the defendant is waiving the right to challenge the sentence in the event that in the
future the defendant becomes aware of previously unknown facts or a change in the law which
the defendant believes would justify a decrease in the defendant’s sentence.

26. The defendant understands that, pursuant to this plea agreement, the
government has agreed not to charge the defendant with a violation of Title 18, United States
Code, Section 844(i) (arson), which, if convicted on such charge, would subject the defendant
to a mandatory minimum term of imprisonment of 5 years up to a maximum term of 20 years.

27. The government waives its right to appeal any component of a sentence
imposed by the Court which falls within or is greater than the sentencing range for
imprisonment, a fine and supervised release set forth in Section III, | 9 above,
notwithstanding the manner in which the Court determines the sentence. However, in the
event of an appeal from the defendant's sentence by the defendant, the government reserves

its right to argue the correctness of the defendant's sentence.
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IX. TOTAL AGREEMENT AND AFFIRMATIONS
28. This plea agreement represents the total agreement between the defendant,
CHRISTOPHER TINDAL, and the government. There are no promises made by anyone
other than those contained in this agreement. This agreement supersedes any other prior

agreements, written or oral, entered into between the government and the defendant.

 

EX Assistant U.S. Attorney

Dated: ApriZ 7 , 2021

I have read this agreement, which consists of pages | through 10. I have had a full
opportunity to discuss this agreement with my attorney, Avik K. Ganguly, Esq. I agree that
it represents the total agreement reached between me and the government. No promises or
representations have been made to me other than what is contained in this agreement. |
understand all of the consequences of my plea of guilty. I fully agree with the contents of this

agreement. I am signing this agreement voluntarily and of my own free will.

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CHRISTOPHER TINDAL AVIK K. GANGULY, ESO.
Defendant Attorney for the Defendant
Dated: April<7_, 2021 Dated: April), 2021
